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To:    Agencies, Employees, Contractors, and Grantees
             U.S. Department of Justice
             U.S. Department of Health & Human Services
             U.S. Department of Agriculture
             U.S. Department of Commerce
             U.S. Department of Defense
             U.S. Department of Education
             U.S. Department of Energy
             U.S. Department of Veterans Affairs
             National Aeronautics and Space Administration
             National Science Foundation
             Office of the Director of National Intelligence
             U.S. Agency for International Development
             U.S. Department of Treasury
             U.S. Department of Transportation
             Small Business Administration
From: Vinita B. Andrapalliyal, Christian S. Daniel, Michelle R. Bennett
Date: March 5, 2025
Re:    Notice of Court Order, Washington v. Trump, 2:25-cv-244-LK (W.D. Wash.)
———————————————————————————————————————
                                NOTICE OF COURT ORDER

You are hereby advised that a preliminary injunction has been entered in the case of Washington
v. Trump, No. 2:25-cv-244-LK (W.D. Wash.), ECF No. 233 (Feb. 28, 2025). You are receiving
this Notice pursuant to the Court’s directive that notice of the order be provided “to all
Defendants and agencies and their employees, contractors, and grantees by March 6, 2025.” A
copy of the Court’s Order is attached for reference.

Plaintiffs, in relevant part, challenged Section 4 of Executive Order (EO) 14,187, Protecting
Children from Chemical and Surgical Mutilation (Jan. 28, 2025), which directs the heads of
departments and agencies “that provide[] research or educational grants to medical institutions”
to, “consistent with applicable law and in coordination with the Director of the Office of
Management and Budget, immediately take appropriate steps to ensure that institutions receiving
Federal research or education grants end the chemical and surgical mutilation of children.” EO
14,187 § 4. Plaintiffs also challenged Sections 3(e) and 3(g) of Executive Order 14,168,
Defending Women from Gender Ideology Extremism and Restoring Biological Truth to the
Federal Government. Those sections directed agency heads to “take all necessary steps, as
permitted by law, to end the Federal funding of gender ideology” (Section 3(e)) and “assess grant
conditions and grantee preferences and ensure grant funds do not promote gender ideology”
(Section 3(g)).

In response, the Court entered a preliminary injunction prohibiting certain actions by the
Defendants in the case within the Plaintiff states of Washington, Oregon, Minnesota, and
Colorado, which is effective immediately. This preliminary injunction supersedes the Court’s
prior temporary restraining order, of which we notified the original Defendants in the case on
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February 19, 2025. All Defendants—including their employees, contractors, and grantees—must
immediately comply with the Court’s preliminary injunctive Order. Please refer to the enclosed
Order for its full terms.

To assist in your compliance, here is a summary of the key terms:

    1. Defendants and all their respective officers, agents, servants, employees,
       and attorneys, and any person in active concert or participation with them
       who receives actual notice of this Order, are hereby fully enjoined from
       enforcing or implementing Section 4 of EO 14,187 within Washington,
       Oregon, Minnesota, and Colorado.

     2. Defendants and all their respective officers, agents, servants, employees, and
        attorneys, and any person in active concert or participation with them who
        receives actual notice of this Order, are hereby fully enjoined from enforcing
        Sections 3(e) or 3(g) of EO 14,168 to condition or withhold federal funding based
        on the fact that a health care entity or health professional provides gender-
        affirming care within Washington, Oregon, Minnesota, and Colorado.

If you have any questions about the scope or effect of the Court’s Order, please contact your
agency’s Office of General Counsel or your grant officer, as appropriate. Thank you for your
attention to this matter.




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